              IN THE COURT OF APPEALS OF NORTH CAROLINA

                                   No. COA19-120

                               Filed: 7 January 2020

Bertie County, No. 12 CVD 100

MISTY JENKINS DEANES, Plaintiff

             v.

KEVIN MICHAEL DEANES, Defendant


      Appeal by Plaintiff from an Order entered 13 November 2018 by Judge Teresa

Freeman in Bertie County District Court.        Heard in the Court of Appeals 19

September 2019.


      Pritchett &amp; Burch, PLLC, by Lloyd C. Smith, Jr. and Lloyd C. Smith, III, for
      plaintiff-appellant.

      Cordell Law, LLP, by Zach Underwood, for defendant-appellee.


      HAMPSON, Judge.


                     Factual and Procedural Background

      Misty Jenkins Deanes (now Gibbs) (Plaintiff) appeals from an Order modifying

a previous child custody and support order and holding both parties in civil contempt.

The Record tends to show the following:

      Plaintiff and Kevin Michael Deanes (Defendant) married on 5 May 2007 and

separated on 4 November 2011. The parties have two minor children from their
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marriage—Carter, born in 2006, and Bobby, born in 2010.1 On 16 March 2012,

Plaintiff filed a civil action seeking child custody, child support, and attorney’s fees.

On 4 April 2012, Defendant filed his Answer and Counterclaim.                          Defendant’s

Counterclaim requested child custody, equitable distribution, and attorney’s fees.

       The trial court entered an Order of Child Custody and Child Support on 27

December 2012 (2012 Order). The 2012 Order granted the parties joint legal custody

and primary physical custody of the two minor children to Plaintiff. The 2012 Order

provided Defendant with visitation supervised by his father and granted him

“reasonable telephone communication with his minor children at reasonable times

and for reasonable lengths with the same being between 7:00 o’clock p.m. and 8:00

o’clock p.m. every other weekday during the week.”

       Shortly after entry, the parties modified visitation under the 2012 Order as

Defendant’s father was unable to continue supervising.                   The parties presented

conflicting evidence as to whether Defendant’s now-wife agreed to supervise

visitation in light of that change; however, the Record indicates the parties continued

to operate under the framework of the 2012 Order with visitation being unsupervised

until 26 November 2016.2            On that evening, the two minor children were in



       1  Pseudonyms are used to protect the identities of the minor children.
       2  The trial court found, in Findings of Fact 10 and 14, “the evidence from both parties showed
that Defendant’s supervised visits did not last more than six (6) months after entry of the [2012]
Order.” And further “that when Defendant’s father stopped supervising the visits in 2013, Defendant’s
visits thereafter were no longer ‘supervised,’ and that since 2013 Defendant has exercised his visits
without any sort of supervision.” These Findings were not challenged by Plaintiff on appeal.

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Defendant’s custody. Defendant, his new wife, and their combined four children—his

wife’s child from a previous marriage, his two children with Plaintiff, and the couples’

biological daughter—were decorating for the holidays.            Later that evening,

Defendant’s oldest son, Carter, remained awake after the other children went to bed.

Around 10 p.m., Defendant and his wife left their residence to observe a neighbor’s

decorations. Defendant testified that he spoke with Carter before they left to make

sure he was “agreeable to staying home alone with the other children for a short

period of time.” Defendant provided him with a cell phone so that he could contact

Defendant if he became concerned. The duration of Defendant’s absence is unclear

from the Record; however, during that time Carter became worried and upset. Carter

testified at trial he tried to reach Defendant but he could not unlock the cell phone he

was given.     He contacted Plaintiff from his own cell phone during Defendant’s

absence.     In response to Carter’s call, Plaintiff traveled through the night to

Defendant’s residence in Virginia. Around 4 a.m. the following morning, Plaintiff

arrived at Defendant’s residence and instructed her two children to leave Defendant’s

house without notifying Defendant. After the children were in Plaintiff’s custody

around 5 a.m., Plaintiff texted Defendant that she retrieved the children.

      Defendant did not see his two minor children from the time Plaintiff retrieved

them the morning of 27 November 2016 until the trial court’s initial hearing on 11

June 2018. Defendant’s phone records indicated that he called Plaintiff 225 times



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during that period, but he testified that he only spoke with his children five times

from 27 November 2016 until the date of trial, 11 June 2018. On 9 November 2017,

Defendant filed a Motion for Contempt and Motion for Modification of Custody.

Plaintiff responded on 24 January 2018 and moved for modification of custody and

child support as well as for Defendant to show cause why he should not be held in

civil contempt.

      On 13 November 2018, the trial court entered an Order for Modification of

Custody, Child Support, and Contempt (2018 Order). In the 2018 Order, the trial

court found a substantial change in circumstances that affected the minor children

and accordingly determined it was in the children’s best interests to make several

modifications to the 2012 Order. The trial court granted Defendant’s Motion to

Modify Custody, Plaintiff’s Motion to Modify Child Support, and both parties’

contempt Motions. The trial court entered a split custody arrangement: Plaintiff

retained primary physical custody of Carter and was awarded primary legal custody.

The 2018 Order granted Defendant primary legal and physical custody of the younger

child, Bobby. The trial court also found both parties willfully violated the 2012 Order,

holding both parties in civil contempt. As a result of the modification of child custody,

the trial court also modified Defendant’s child support obligation. Plaintiff timely

appealed from the 2018 Order.

                                        Issues



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      Plaintiff presents three primary issues before this Court. (I) Plaintiff contends

the trial court erred in modifying the parties’ child custody arrangement in the 2012

Order by (1) finding a substantial change in circumstances that materially affected

the minor children and (2) determining that a split custody arrangement was in the

best interests of the children. Plaintiff next contends the trial court erred by (II)

holding Plaintiff in civil contempt of the 2012 Order and (III) in calculating

Defendant’s child support obligation.

                                        Analysis

                           I. Modification of Child Custody

      A. Standard of Review

      “Our trial courts are vested with broad discretion in child custody matters.

This discretion is based upon the trial courts’ opportunity to see the parties; to hear

the witnesses; and to detect tenors, tones, and flavors that are lost in the bare printed

record read months later by appellate judges[.]” Shipman v. Shipman, 357 N.C. 471,

474, 586 S.E.2d 250, 253 (2003) (citations and quotation marks omitted). The trial

court examines whether to modify a child custody order in two parts. First, “[t]he

trial court must determine whether there was a change in circumstances and then

must examine whether such a change affected the minor child.” Id. “When reviewing

a trial court’s decision to grant or deny a motion for the modification of an existing

child custody order, the appellate courts must examine the trial court’s findings of



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fact to determine whether they are supported by substantial evidence.” Id. Findings

of fact supported by substantial evidence “are conclusive on appeal, even if record

evidence might sustain findings to the contrary.” Id. at 475, 586 S.E.2d at 254
(citation and quotation marks omitted). We then “determine if the trial court’s factual

findings support its conclusions of law.” Id.
      Second, the trial court must “examine whether a change in custody is in the

child’s best interests.” Id. at 474, 586 S.E.2d 253. “As long as there is competent

evidence to support the trial court’s findings, its determination as to the child’s best

interests cannot be upset absent a manifest abuse of discretion.”          Stephens v.

Stephens, 213 N.C App. 495, 503, 715 S.E.2d 168, 174 (2011) (citation and quotation

marks omitted)).    “Under an abuse of discretion standard, we must determine

whether a decision is manifestly unsupported by reason, or so arbitrary that it could

not have been the result of a reasoned decision.” Id.
      B. The 2018 Order

      In the 2018 Order, the trial court determined that there was a substantial

change in circumstances that affected the minor children and that it was in the best

interests of the minor children to enter a split custody arrangement.          Plaintiff

challenges the trial court’s determination a substantial change in circumstances

existed affecting the minor children and that modification of child custody was in the

children’s best interests. First, we review the trial court’s determination that a



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substantial change in circumstances affected the minor children to see if the Findings

of Fact are supported by competent evidence.           We then review the trial court’s

determination of the best interests of the minor children for abuse of discretion.

      1. Substantial Change in Circumstances that Affected the Minor Children

      Plaintiff challenges the 2018 Order’s Findings that support its ruling a

substantial change in circumstances affected the minor children and further contends

the trial court erred because “the Court made no findings of fact as to how any alleged

significant change of circumstances had affected the minor children.” “Where the

‘effects of the substantial changes in circumstances on the minor child . . . are self-

evident,’ there is no need for evidence directly linking the change to the effect on the

child.” Lang v. Lang, 197 N.C. App. 746, 750, 678 S.E.2d 395, 398 (2009) (quoting

Shipman, 357 N.C. at 479, 586 S.E.2d at 256) (alteration in original). Moreover, “both

changed circumstances which will have salutary effects upon the child and those

which will have adverse effects upon the child[ ] . . . may support a modification of

custody on the ground of a change in circumstances.” Pulliam v. Smith, 348 N.C. 616,

619, 501 S.E.2d 898, 899 (1998).

      Plaintiff challenges Finding of Fact 54, which determined a substantial change

in circumstances existed because:

          a. Six years have passed since the entry of the [2012] Order.

          b. The children have grown from toddler/small children to
             elementary/middle-school aged children.


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          c. The Defendant is no longer exhibiting a drinking problem.

          d. The Defendant enjoyed unsupervised visits with [Carter] and
             [Bobby] for years without incident . . . .

          e. The Defendant has cared for his children that he shares with
             his current wife for years without incident.

          f. Defendant has not been able to see or speak regularly by phone
             with [his children] since November 2016 as a direct
             consequence of Plaintiff’s unilateral decisions, as further
             detailed in this Court’s findings hereinabove.

      Plaintiff argues the trial court erred in Findings 54(a),(b), and (f). Specifically,

Plaintiff contends it was error for the trial court to find the time since entry of the

2012 Order and the age of the parties’ children as facts supporting a substantial

change in circumstances. Plaintiff cites to our Supreme Court’s decision in In re Peal

in support of her argument. 305 N.C. 640, 290 S.E.2d 664 (1982). However, in Peal

our Supreme Court held the trial court correctly considered the age of the parties’ son

when it modified a previous custody order. Id. at 646-47, 290 S.E.2d at 668. We

emphasize, as was the case in Peal, that here the trial court did not find the change

in the children’s age as the sole basis for its determination there was a substantial

change in circumstances.     In Peal, the trial court made additional findings and

considered the child’s testimony and preference. Id. Here, the age of the children

and the time since the entry of the 2012 Order is but one of several factors used by

the trial court and is therefore consistent with our Supreme Court’s decision in Peal.



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Therefore, the trial court properly considered the time since entry of the 2012 Order

and the age of the minor children as part of its determination.

       Plaintiff contends the trial court erred in Finding 54(f) because Plaintiff did

not unilaterally act to terminate Defendant’s visitation and instead that Defendant’s

visitation rights terminated under the 2012 Order when he consumed alcohol in front

of the minor children. We disagree. The 2012 Order stated “[i]f the Defendant

possess or consumes said intoxicating substances, then his visitations will terminate

immediately and his father is to return the children to the Plaintiff until such time

as further orders are entered by [the trial court].”       The 2012 Order did not

contemplate Plaintiff would have the sole authority to terminate Defendant’s

visitation. In fact, the 2012 Order named Defendant’s father as the supervisor and,

as such, designated him to “return the children to the Plaintiff until such time as

further orders are entered by this Court[ ]” in the event Defendant consumed alcohol

during a visitation. Therefore, the trial court vested the authority to terminate

visitation with either a court-approved party—like Defendant’s father—or by further

order of the trial court, not with Plaintiff.

       Furthermore, early in the morning of 27 November 2016, Plaintiff drove to

Defendant’s residence and instructed Carter and Bobby to leave without alerting

Defendant. The Record evidences Defendant did not see his children from that time

until the trial court’s hearing and that he called Plaintiff over 200 times during that



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same period and was only able to speak with his children on five occasions. As such,

we conclude there is substantial evidence in the Record to support Finding 54(f)—

that due to Plaintiff’s unilateral decision “Defendant has not been able to see or speak

regularly by phone with [his children] since November 2016 . . . .”

      Plaintiff concedes the trial court’s Findings 54(c)-(e) “may be redeeming

factors” but states “they are not a substantial change of circumstances which would

justify a modification of [the 2012 Order].” Therefore, the trial court’s Findings that

Defendant “is no longer exhibiting a drinking problem[,] . . . enjoyed unsupervised

visits with [his children] for years without incident[, and] . . . has cared for his

children that he shares with his current wife for years without incident[,]”are

conclusive on appeal. Furthermore, we disagree with Plaintiff and instead conclude

these Findings support the trial court’s determination a substantial change in

circumstances exists that affected the minor children.

      The trial court found the fact Defendant no longer exhibits a drinking problem

or suffers from alcohol abuse as a substantial change in circumstances. From this

Finding and other evidentiary findings made by the trial court, it is evident the

change positively impacts Defendant’s ability to care for his children, as highlighted

in the trial court’s next Finding “Defendant enjoyed unsupervised visits with [his

children] for years without incident until November 2016[.]” As Plaintiff notes in her

brief, the 2012 Order focused heavily on Defendant’s alcohol consumption in denying



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his request for unsupervised visitation.           Thus, the trial court’s Finding—

unchallenged on appeal—that Defendant no longer exhibits a drinking problem

supports the trial court’s determination that a substantial change in circumstances

exists of which the effects are evident. See Lang, 197 N.C. App. at 750, 678 S.E.2d at

398. As such, the trial court did not need to find “evidence directly linking the change

to the effect on the child[ren.]” Id. (citations and quotation marks omitted).

      The trial court’s Findings—“Defendant enjoyed unsupervised visits with [his

minor children] for years without incident until November 2016[,]” Defendant has a

“new child with his current wife,” and his minor children have a strong bond with his

new child and his wife’s first child—support the conclusion that a substantial change

in circumstances affected his minor children.         At the time of the 2012 Order,

Defendant had not remarried. However, his subsequent marriage and the birth of

his daughter with his new wife are linked to an effect on his minor children in the

trial court’s Finding that a strong bond existed between them. That Finding is

supported by competent evidence and evidences the substantial change in

circumstances affected the minor children.

      As such, the trial court’s determination a substantial change in circumstances

existed is supported by the Findings of Fact, which also supports the trial court’s

determination the substantial change in circumstances affected the welfare of the

parties’ minor children.



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      Plaintiff also challenges Findings 62, 64, 65, 66, 67, and 68 as erroneous and

not supported by the evidence.3 Although we conclude the trial court sufficiently

demonstrated a substantial change in circumstances affected the welfare of the minor

children, we briefly address Plaintiff’s additional challenges.                    The trial court’s

Findings, in relevant part, are as follows:

               62.    However, the Court also finds everything that has
            transpired in this case since November 26, 2016 is a direct result
            of Plaintiff’s poor decision making as it relates to the minor
            children.

                ....

               64.    Instead of speaking with the Defendant prior to
            retrieving the minor children, [Plaintiff] did it herself. That
            demonstrates poor-decision making by Plaintiff, and this poor
            decision-making was not in the best interests of the children[.]

               65.    Plaintiff’s decision to completely cut off all
            communication and visitation with Defendant was not in the best
            interests of the minor children.

               66.     Plaintiff’s decision not to notify Defendant of the oldest
            child’s therapy, or involve him in any way was not in the child’s
            best interests.

                67.   Any parent who completely severs a child’s relationship
            with the other parent, barring extreme circumstances, has shown
            a clear inability to act in the children’s best interests. There are
            no such extreme circumstances present in this case. Plaintiff


      3   The trial court acknowledged:
                There are or may be mixed findings of fact and conclusions of law or
            conclusions of law set forth in the [Findings of Fact] . . . as the Court must
            make mixed findings of fact and conclusions of law in determining the best
            interest of the minor children, the type of visitation and custody that should be
            awarded, and the amount of child support which should be awarded.”

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         attempted to completely sever the children’s relationship with
         Defendant, and has therefore shown an inability to act in the
         children’s best interests.

            68.     Because of Plaintiff’s poor decision making, the oldest
         minor child no longer wishes to have a relationship with his
         father of any kind.

      The trial court’s above Findings are supported by competent evidence in the

Record. Namely, Plaintiff admits she utilized self-help to retrieve the minor children

from Defendant’s custody, without his knowledge, on the morning of 27 November

2016. The Record further reflects prior to 26 November 2016, Defendant was able to

visit and communicate with his minor children regularly and without incident under

the 2012 Order as modified by the parties. Yet, after the 26 November 2016 incident,

Defendant did not see his children until the 11 June 2018 hearing and only spoke

with them a combined five times. Despite the fact Defendant shared joint legal

custody with Plaintiff and was to be informed of major medical decisions regarding

their minor children under the 2012 Order, Plaintiff did not inform or consult with

Defendant about Carter’s mental health issues even though his therapist testified the

26 November 2016 event was a “major stressor” in his life. Moreover, Plaintiff did

not inform Defendant of Bobby’s dental surgeries or Carter’s braces, and additional

testimony elicited at trial indicated Carter no longer wishes to have a relationship

with Defendant.




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      As such, we conclude there is competent evidence in the Record supporting the

trial court’s Findings Plaintiff attempted to completely sever the children’s

relationship with Defendant and that the events that transpired after 26 November

2016 are the result of Plaintiff’s poor decision-making.         Thus, the trial court

sufficiently demonstrated a substantial change in circumstances affected the minor

children.

      2. Best Interests

      Plaintiff contends the trial court incorrectly determined it was in the best

interests of the minor children to grant Defendant primary physical and legal custody

of the parties’ younger son, entering a split custody arrangement. We disagree. “Trial

courts are permitted to consider an array of factors in order to determine what is in

the best interest of the child[,]” Phelps v. Phelps, 337 N.C. 344, 352, 446 S.E.2d 17, 22
(1994), and “[e]vidence of a parent’s ability or inability to cooperate with the other

parent to promote their child’s welfare is relevant in a custody determination and

material to determining the best interests of the child.”              Cunningham v.

Cunningham, 171 N.C. App. 550, 559, 615 S.E.2d 675, 682 (2005). “As long as there

is competent evidence to support the trial court’s findings, its determination as to the

child’s best interests cannot be upset absent a manifest abuse of discretion.”

Stephens, 213 N.C App. at 503, 715 S.E.2d at 174 (citation and quotation marks

omitted).



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      The trial court made Findings that the Defendant and the younger child

“shared a strong relationship prior to November 26, 2016, and have maintained some

phone contact since November 26, 2016. There was no evidence presented at trial

that Defendant and the younger minor child currently have a strained relationship

or unhealthy relationship.”      Further, the trial court found Plaintiff: cut off

communication and visitation with Defendant and his minor children; did not notify

Defendant of the older minor child’s enrollment in therapy; and did not consult with

Defendant regarding “how to proceed with such major medical procedures prior to

them being carried out[ ]” for either of the minor children.

      As this Court held, “[e]vidence of a parent’s ability or inability to cooperate

with the other parent . . . is relevant in a custody determination and material to

determining the best interests of the child.” Cunningham, 171 N.C. App. at 559, 615

S.E.2d at 682 (emphasis added).       Moreover, “although interference alone is not

enough to merit a change in the custody order, where interference with visitation

becomes so pervasive as to harm the child’s close relationship with the noncustodial

parent, it may warrant a change in custody.” Stephens, 213 N.C App. at 499, 715

S.E.2d at 172 (alterations, citations, and quotation marks omitted).

      As previously discussed, the trial court’s Findings reflect Plaintiff’s inability to

cooperate with Defendant and her interference with Defendant’s visitation rights—

Findings that are material to the trial court’s decision regarding the best interests of



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the minor children. The trial court determined the best interests of Carter were best

served by ordering he remain with Plaintiff due to his damaged relationship with

Defendant and, accordingly, ordering Defendant and Carter enroll in reunification

therapy. However, the trial court determined that the best interests of Bobby were

best served by granting Defendant primary physical and legal custody. The trial

court’s Findings support its determination that the best interests of Bobby are met

by granting Defendant primary physical and legal custody because Plaintiff acted in

opposition to the child’s best interest when she attempted to completely sever the

child’s relationship with Defendant, which the trial court found to be strong, and by

her demonstrated inability to cooperate with Defendant. “[T]he trial court ‘need not

wait for any adverse effects on the child to manifest themselves before the court can

alter custody.’ ” Id. at 502-03, 716 S.E.2d at 174 (citation and quotation marks

omitted).   Therefore, we conclude the trial court did not abuse its discretion in

ordering Defendant primary custody of Bobby.

      Plaintiff additionally argues it was not in the best interests of the minor

children to be separated and that the trial court did not consider the effect of

separation on the best interests of the minor children. However, the trial court’s 2018

Order evidences, in fact, that the trial court considered the effects of separation on

the minor children. The trial court ordered: “In an effort to ensure both children still

see each other and maintain their sibling relationship, the parties shall exchange the



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children such that the minor children spend every weekend together . . . .” “Prior to

school releasing for the summer, the parties shall work together to develop a schedule

for the summer where . . . the children are together.” From the language of the 2018

Order, we conclude the trial court contemplated the separation of the minor children

in the 2018 Order and accordingly ordered visitation to account for the change. Thus,

the trial court did not abuse its discretion, and we affirm the 2018 Order’s

modification of child custody.

                                        II. Contempt

      We review a trial court’s determination of civil contempt to determine “whether

there is competent evidence to support the findings of fact and whether the findings

support the conclusions of law.” Watson v. Watson, 187 N.C. App. 55, 64, 652 S.E.2d

310, 317 (2007) (citation omitted). The trial court’s findings of fact “are conclusive on

appeal when supported by any competent evidence and are reviewable only for the

purpose of passing upon their sufficiency to warrant the judgment.” Id. (citation and

quotation marks omitted).

      The trial court held Plaintiff in civil contempt of the 2012 Order for willfully

violating two provisions. The trial court found Plaintiff violated the 2012 Order by

denying Defendant reasonable telephone communication with his children and for

failing to “consult as appropriate on major medical, educational, and religious

decisions in the children’s lives.”



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      Plaintiff challenges the trial court’s Findings 79, 80, 81, 82, 83, and 84 finding

Plaintiff in contempt for her willful violation of Defendant’s right to telephone

visitation with his sons. The trial court found Defendant called Plaintiff over 200

times since 26 November 2016 and that she had answered five times. Plaintiff argued

in response that Defendant’s visitation, both in-person and telephone, terminated

when he consumed alcohol in front of the parties’ sons. Plaintiff erroneously relies

on Routten v. Routten for her argument that electronic communication is an equal

form of visitation. ___ N.C. App. ___, ___, 822 S.E.2d 436, 443 (2018), disc. rev. denied,

___ N.C. ___, 831 S.E.2d 77 (2019). Routten, however, simply points to N.C. Gen.

Stat. § 50-13.2(e), which states “[e]lectronic communication with a minor child may

be used to supplement visitation with the child. Electronic communication may not

be used as a replacement or substitution for custody or visitation.” N.C. Gen. Stat. §

50-13.2 (e) (2017) (emphasis added). As such, Plaintiff’s contention that electronic

communication is a form of visitation equal to that of in-person visitation is incorrect.

      In addition, the 2012 Order addresses Defendant’s right to electronic and in-

person visitation separately. The 2012 Order grants Defendant supervised visitation

on the condition that “[i]f the Defendant possesses or consumes said intoxicating

substances, then his visitations will terminate immediately and his father is to return

the children to the Plaintiff . . . .” In a separate paragraph, the 2012 Order provides

“Defendant will be allowed reasonable telephone communication with his minor



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children at reasonable times and for reasonable lengths . . . .” The trial court did not

limit Defendant’s telephone communication on his consumption of alcohol as it did

his supervised visits. As such, the trial court correctly determined Plaintiff was in

civil contempt for denying Defendant telephone communication provided to him by

the 2012 Order.

      The trial court also held Plaintiff was in civil contempt for failing to “consult

as appropriate on major medical, educational, and religious decisions in the children’s

lives.” Plaintiff did not challenge this portion of the 2018 Order finding her in civil

contempt. Therefore, we affirm the trial court’s 2018 Order holding Plaintiff in civil

contempt of the 2012 Order.

                           III. Child Support Modification

      Plaintiff contends the trial court erred using Worksheet C, provided by the

North Carolina Child Support Guidelines, to calculate Defendant’s child support

obligation because the trial court should not have ordered a split custody

arrangement. Considering our previous conclusion, we disagree and hold it was

correct for the trial court to use Worksheet C to calculate Defendant’s child support

obligation.

      Next, Plaintiff argues the trial court committed “plain error” in its inclusion of

a one-hundred-dollar-per-month health insurance credit and a one-hundred-dollar-

per-month childcare credit to Defendant in its child support calculation. There is no



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plain error review in civil trials. Dogwood Dev. &amp; Mgmt. Co., LLC, v. White Oak

Transp. Co., 362 N.C. 191, 196, 657 S.E.2d 361, 364 (2008) (citation omitted) (“[P]lain

error review is available in criminal appeals[.]”). Instead, a trial court’s child support

modification is reviewed for abuse of discretion. See Leary v. Leary, 152 N.C. App.

438, 441, 567 S.E.2d 834, 837 (2002).

      Defendant contends, in brief, the parties consented to submit their proposed

child support worksheets to the trial court after the trial court announced its award

of split custody. This may well be true, but there is nothing in the Record before us

reflecting Defendant’s contention. Therefore, we are constrained to remand this

matter to the trial court to make findings, supported by evidence and other materials

properly before it, resolving this very limited issue of the appropriate health

insurance and childcare cost credit to be given to Defendant in calculating his child

support obligation.

                                      Conclusion

      Accordingly, for the foregoing reasons, we affirm the trial court’s conclusion

there was a substantial change of circumstances justifying a modification in child

custody. We also affirm the trial court’s holding Plaintiff in civil contempt. We vacate

the 2018 Order in part and remand this matter to the trial court for further

proceedings to redetermine the appropriate health insurance and childcare cost credit

Defendant should be given for his child support calculation.



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AFFIRMED IN PART; VACATED IN PART AND REMANDED.

Judges ZACHARY and ARROWOOD concur.




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